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                       EXHIBIT A
             Declaration of David M. Klauder
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   )
In re:                                                             )   Chapter 11
                                                                   )
ENERGY FUTURE HOLDINGS CORP., et al.,1                             )   Case No. 14-10979 (CSS)
                                                                   )
                           Debtors.                                )   (Jointly Administered)
                                                                   )
                                                                   )   Objection Deadline: July 6, 2015, at 4:00 p.m. EDT
                                                                       Hearing Date: To be determined
                                                                   )

DECLARATION OF DAVID M. KLAUDER IN SUPPORT OF THE SECOND INTERIM
           FEE APPLICATION OF O’KELLY ERNST & BIELLI, LLC,
 CO-COUNSEL FOR DEBTOR AND DEBTOR IN POSSESSION ENERGY FUTURE
       HOLDINGS CORP., FOR THE PERIOD FROM JANUARY 1, 2015
              THROUGH AND INCLUDING APRIL 30, 2015

         I, David M. Klauder, declare under penalty of perjury as follows:

         1.       I am a partner in the firm of O’Kelly Ernst & Bielli, LLC (“OEB”), with an office

located at 901 N. Market Street, Suite 1000, Wilmington, DE 19801, and have been duly

admitted to practice law in the State of Delaware.

         2.       I am the lead attorney from OEB working on the Energy Future Holdings Corp.

(“EFH Corp.”) chapter 11 case. I am authorized to submit this Declaration in support of the

Second Interim Fee Application of O’Kelly Ernst & Bielli, LLC, Co-Counsel for Debtor and

Debtor in Possession Energy Future Holdings Corp., for the Period from January 1, 2015

Through and Including April 30, 2015 (the “Fee Application”). Except as otherwise noticed, I

have personal knowledge of the matters set forth in this Declaration.



1
          The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of
the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, which are being jointly administered, a complete list of the debtors and the last four digits of their
federal tax identification numbers is not provided herein. A complete list of such information may be obtained on
the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.
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       3.      I have read the Fee Application. The statements contained in the Fee Application

are true and correct according to the best of my knowledge, information and belief. I believe that

the Fee Application complies with Local Bankruptcy Rules 2016-1 and 2016-2.

       4.      I certify:

               a. To the best of my knowledge, information, and belief, formed after reasonable
                  inquiry, the fees and disbursements sought in the Fee Application are
                  permissible under the relevant rules, court orders, and Bankruptcy Code
                  provisions.

               b. The fees and disbursements sought in the Fee Application are billed at rates
                  OEB customarily employs and OEB clients generally accept.

               c. None of the professionals seeking compensation varied their hourly rate based
                  on the geographic location of the EFH Corp. case.

               d. OEB is not seeking compensation for this Fee Period for time spent reviewing
                  or revising time records or preparing, reviewing, or revising invoices. OEB
                  regularly revises its time records for privileged and confidential information
                  and accordingly did not spend any additional time reviewing time records to
                  redact such privileged or confidential information.

               e. OEB does not make a profit on costs or expenses for which it seeks
                  reimbursement, whether the service is performed by OEB in-house or through
                  a third party.

               f. In accordance with Rule 2016(a) of the Federal Rules of Bankruptcy
                  Procedure and 11 U.S.C. § 504, no agreement or understanding exists between
                  OEB and any other person for the sharing of compensation to be received in
                  connection with the above cases except as authorized by the Bankruptcy
                  Code, Bankruptcy Rules, and Local Bankruptcy Rules.

               g. All services for which compensation is sought were professional services
                  rendered on behalf of EFH Corp. and not on behalf of any other person.

       I declare under penalty of perjury as provided in 28 U.S.C. § 1746 that the foregoing is

true and correct according to the best of my knowledge, information and belief.



Dated: June 15, 2015
                                                     David M. Klauder (No. 5769)

                                                2
